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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

 UNITED STATES OF AMERICA                  )
                                           )
       v.                                  ) CASE NO. 2:16-CR-220-WKW
                                           )             [WO]
 LUCIANA MEKELE JACKSON                    )

                                      ORDER

      Before the court is Defendant Luciana Mekele Jackson’s third motion for

compassionate release (Doc. # 82), in which Defendant seeks to modify an imposed

term of imprisonment pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). The Government

filed a response in opposition to the motion. (Doc. # 86.)

      Defendant was convicted based on her guilty plea to three counts of wire

fraud, in violation of 18 U.S.C. § 1343, and three counts of aggravated identity theft,

in violation of 18 U.S.C. § 1028A(a)(1). As a result of her convictions, Defendant

was sentenced to 81 months’ imprisonment. (Doc. # 37.) Defendant’s projected

release date is December 31, 2022. See https://www.bop.gov/inmateloc/ (last visited

Oct. 18, 2021).

      Based upon a thorough review of the record and for the reasons set out in the

Government’s response (Doc. # 86, at 12–15), Defendant has not shown

“extraordinary and compelling reasons” warranting her early release from prison.

§ 3582(c)(1)(A); see also United States v. Bryant, 996 F.3d 1243, 1251 (11th Cir.
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2021) (holding that a district court “may not reduce a sentence under Section

3582(c)(1)(A) unless a reduction would be consistent with 1B1.13” and that the

Bureau of Prisons, not the court, determines “which reasons outside of those

explicitly delineated by the Commission are extraordinary and compelling”),

petition for cert. filed, No. 20-1732 (U.S. June 15, 2021).

      Additionally, the balancing of the § 3553(a) factors, considered in light of

Defendant’s “current circumstances” and her “circumstances at the time of his

original sentencing,” does not warrant early release. United States v. Groover, 844

F. App’x 185, 188 (11th Cir. 2021).            The conduct underlying Defendant’s

convictions are serious crimes that financially and emotionally damaged the lives of

many individuals. (See, e.g., Presentence Investigation Report (“PSR”) ¶¶ 10, 12,

18); Doc. # 65-1 (explaining that Defendant’s crime has “made my life a living hell”

(Victim Impact Statement).) Furthermore, at the time of sentencing, Defendant had

amassed convictions that landed her in a criminal history category of VI; she

committed the instant offenses while under a criminal justice sentence for forgery

and theft; and her convictions in this case were not her first fraud-related convictions.

(See PSR (Adult Criminal Convictions).) As Defendant will recall, at sentencing,

the court observed that her abysmal criminal record is rarely seen in forty-year-old

females appearing in this court. (Doc. # 51, at 8.) Furthermore, Defendant’s release

at the juncture would undercut the gravity of her offenses, diminish public respect


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for the law, negate the deterrent value of punishment, and fail to protect the public

from additional crimes of Defendant. See § 3553(a)(2).

      For the foregoing reasons, it is ORDERED that Defendant’s second motion

for compassionate release (Doc. # 82) is DENIED.

      DONE this 18th day of October, 2021.

                                            /s/ W. Keith Watkins
                                       UNITED STATES DISTRICT JUDGE




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